     Case: 1:18-cv-05681 Document #: 126-1 Filed: 12/31/20 Page 1 of 1 PageID #:590

                IN THE CIRCUIT COURT OF LAKE COUNTY, ILLINOIS
                     OF THE NINETEENTH JUDICIAL CIRCUIT

Yahaira Cuevas,                             )
                                            )
                              Plaintiff,    )
                                            )
v.                                          )      Case No.:     20 AR 522
                                            )
Ghanu Inc., an Illinois corporation,        )
and Vikram Patel,                           )
                                            )
                              Defendants.   )

                                CERTIFICATE OF SERVICE

TO:     James L. McKnight
        Thomas & Associates
        American International Group, Inc. (AIG)
        30 South Wacker Drive, Suite 2200
        Chicago, Illinois 60606
        James.McKnight@AIG.com

       I, Alyssa Reyes, a non- attorney, certify that I served a true and correct copy of the
foregoing, Certificate of Service of Plaintiff’s First Set of Interrogatories and Request to
Produce, the above by email on this 31st day of December 2020.

                                                   /s/ Alyssa Reyes
                                            Alyssa Reyes


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